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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

KEVIN MILLER                                           §
                                                       §
       Plaintiff,                                      §
                                                       §
VS.                                                    §       Case No. 4:13CV32
                                                       §
TEXOMA MEDICAL CENTER, INC.                            §
and UNIVERSAL HEALTH                                   §
SERVICES, INC.                                         §
                                                       §
       Defendants.                                     §

                  MEMORANDUM OPINION AND ORDER GRANTING
                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Pending before the Court is Defendants’ Motion for Summary Judgment (Dkt. 24). As set

forth below, the Court finds that it should be GRANTED.

                                           BACKGROUND

       Plaintiff Kevin Miller was employed as a respiratory therapist at Texoma Medical Center,

Inc. In his complaint, Plaintiff alleges a single violation of the Fair Labor Standards Act (“FLSA”),

29 U.S.C. § 201, et. seq. Plaintiff alleges that he was regularly scheduled to work 40 or more hours

in a work week at the hospital. See Dkt. 1. Plaintiff further argues that, in addition to his regularly

scheduled work at the hospital, he was required to be on call when he was not at the hospital, that

he regularly received calls from the hospital, and that he was required to respond to those calls and

perform work related to them but was not compensated for that time.




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       Plaintiff alleges that his employer violated Sections 6 and 7 of the FLSA, 29 U.S.C. §§ 206-7,

and 215(a)(2), by employing employees for workweeks longer than 40 hours without compensating

such employees for their work in excess of forty hours per week at rates no less than one-and-a-half

times the regular rates for which they were employed. See Dkt. 1 at ¶18.     Plaintiff originally named

two Defendants in this action, Defendant Texoma Medical Center, Inc. (“TMC”), a full-service

hospital located in Dennison, Texas and Defendant Universal Health Services, Inc. (“UHS”), which

owns and operates TMC. On November 3, 2014, based on the agreement of the parties, the Court

dismissed the claims against UHS with prejudice, rendering moot any summary judgment arguments

as to Defendant UHS. See Dkt. 31.

       In the pending motion for summary judgment, Defendant TMC argues that Plaintiff’s off-the-

clock claims fail as a matter of law because Plaintiff cannot prove the amount and extent of the time

for which he was allegedly not compensated, Plaintiff cannot show that TMC knew about his off-the-

clock work, and Plaintiff cannot prove his alleged off-the-clock work as a matter of just and

reasonable inference.

       Plaintiff responds that an employer armed with knowledge that an employee has performed

uncompensated overtime has recording duties under the FLSA and that the employer’s FLSA

obligations are triggered here. Plaintiff argues that Defendant required him to work off-the-clock,

that Defendant otherwise had actual knowledge of his off-the-clock duties, and that Defendant failed

to record his off-the-clock time. Plaintiff argues that he should not be further penalized for

Defendant’s failures and should receive compensation based on his proper estimates of time worked.

       The Court addresses the record before it.




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                                 SUMMARY JUDGMENT STANDARD

         Summary judgment is appropriate when, viewing the evidence and all justifiable inferences

in the light most favorable to the non-moving party, there is no genuine issue of material fact and

the moving party is entitled to judgment as a matter of law. FED. R. CIV. P. 56(c); Hunt v. Cromartie,

526 U.S. 541, 549, 119 S. Ct. 1545, 143 L. Ed.2d 731 (1999). The appropriate inquiry is “whether

the evidence presents a sufficient disagreement to require submission to a jury or whether it is so

one-sided that one party must prevail as a matter of law.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 251-52, 106 S. Ct. 2505, 91 L. Ed.2d 202 (1986).

         The party moving for summary judgment has the initial burden to prove there are no genuine

issues of material fact for trial. Provident Life & Accident Ins. Co. v. Goel, 274 F.3d 984, 991 (5th

Cir. 2001). In sustaining this burden, the movant must identify those portions of pleadings,

depositions, answers to interrogatories, and admissions on file, together with the affidavits, if any,

which it believes demonstrate the absence of a genuine issue of material fact. Celotex Corp. v.

Catrett, 477 U.S. 317, 325, 106 S. Ct. 2548, 2553, 91 L. Ed.2d 265 (1986). The moving party,

however, “need not negate the elements of the nonmovant’s case.” Little v. Liquid Air Corp., 37

F.3d 1069, 1075 (5th Cir. 1994) (en banc). The movant’s burden is only to point out the absence of

evidence supporting the nonmoving party’s case. Stults v. Conoco, Inc., 76 F.3d 651, 655 (5th Cir.

1996).

         In response, the nonmovant “may not rest upon mere allegations contained in the pleadings,

but must set forth and support by summary judgment evidence specific facts showing the existence

of a genuine issue for trial.” Ragas v. Tennessee Gas Pipeline Co., 136 F.3d 455, 458 (5th Cir.




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1998) (citing Anderson, 477 U.S. at 255-57, 106 S. Ct. at 2513-14). Once the moving party makes

a properly supported motion for summary judgment, the nonmoving party must look beyond the

pleadings and designate specific facts in the record to show that there is a genuine issue for trial.

Stults, 76 F.3d at 655. The citations to evidence must be specific, as the district court is not required

to “scour the record” to determine whether the evidence raises a genuine issue of material fact. E.D.

TEX. LOCAL R. CV-56(d). Neither “conclusory allegations” nor “unsubstantiated assertions” will

satisfy the nonmovant’s burden. Stults, 76 F.3d at 655.

                                       EVIDENCE PRESENTED

        In support of its motion, Defendant TMC submits the following evidence (1) Declaration of

William Terry Heinzmann; (2) Deposition Transcript excerpts of William Heinzmann; (3) Human

Resources Status Form; (4) Deposition Transcript excerpts of Kevin Miller; (5) Call Back Pay

Policy; (6) Texoma Medical Center Employee Handbook; (7) Miller’s Acknowledgment of

Employee Handbook; (8) Compensation for Hours of Work Policy; (9) Working from Home Policy;

(10) Miller’s Payroll records; and (11) Letter of Resignation dated May 25, 2012. Dkt. 24-2 – 24-12.

        In response to the motion for summary judgment, Plaintiff attaches the following evidence:

(1) Exhibit A: Defendant’s “On Call” Policy; (2) Exhibit B: “a portion of [Plaintiff’s] documented

time;” (3) Exhibit C: Plaintiff work history/curriculum vitae; (4) Exhibit D: Plaintiff’s cell phone

records; (5) Exhibit E: Defendant’s “Telecommuting Program;” (6) Exhibit F: Defendant’s “Hours

of Work and Compensation;” (7) Exhibit G: Miller Deposition Excerpts;1 and (8) Exhibit H:



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        TMC also attaches additional deposition excerpts in support of its summary judgment
reply. See Dkt. 32-1.



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Heinzmann Deposition Excerpts. Dkt. 27-1– 28-8.

                                            ANALYSIS

       The Court has reviewed the summary judgment record and finds that Plaintiff has failed to

raise a genuine issue of material fact as to whether Defendant failed to compensate him for overtime

work. Primarily, Plaintiff has failed to establish a prima facie case under the FLSA. An employee

bringing an action for unpaid overtime compensation must first demonstrate by a preponderance of

the evidence: (1) that there existed an employer-employee relationship during the unpaid overtime

periods claimed; (2) that the employee engaged in activities within the coverage of the FLSA; (3)

that the employer violated the FLSA’s overtime wage requirements; and (4) the amount of overtime

compensation due. Johnson v. Heckmann Water Res. (CVR), Inc., 758 F.3d 627, 630 (5th Cir. 2014).

       “An employee bringing an action pursuant to the FLSA, based on unpaid overtime

compensation, must first demonstrate that [he] has performed work for which [he] alleges [he] was

not compensated.” Harvill v. Westward Commc’ns, L.L.C., 433 F.3d 428, 441-42 (5th Cir. 2005)

(citing Anderson v. Mount Clemens Pottery Co., 328 U.S. 680, 687-88, 66 S. Ct. 1187, 90 L .Ed.

1515 (1946)) (affirming grant of summary judgment for employer defendant where the plaintiff

offered no factual allegations at all to substantiate her claim, presented no evidence of the amount

or the extent of hours she worked without compensation, and presented no evidence that her

employer was aware that she worked overtime hours without compensation). See also Von

Friewalde v. Boeing Aerospace Operations, Inc., 339 Fed. App’x 448, 455 (5th Cir. 2009). Once

a plaintiff demonstrates the existence of actual damages, he has the burden to introduce “sufficient

evidence to show the amount and extent of that work as a matter of just and reasonable inference.”




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Ihegword v. Harris County Hosp. Dist., 555 Fed. App’x 372, 374 (5th Cir. Tex. 2014).

        First, the Court looks to whether there is competent summary judgment evidence that

Plaintiff performed work for which he was not compensated as a TMC employee. As explained by

the Fifth Circuit:

        [A]n employee must prove that he was “employed” during the time for which he
        seeks overtime compensation, which requires a showing that the employer had
        either actual or constructive knowledge that he was working overtime. Newton v.
        City of Henderson, 47 F.3d 746, 748 (5th Cir. 1995). Constructive knowledge
        exists if by “exercising reasonable diligence” an employer would become aware
        that an employee is working overtime. Brennan v. Gen. Motors Acceptance
        Corp., 482 F.2d 825, 827 (5th Cir. 1973). “‘An employer who is armed with
        [knowledge that an employee is working overtime] cannot stand idly by and allow
        an employee to perform overtime work without proper compensation, even if the
        employee does not make a claim for the overtime compensation.’” Newton, 47
        F.3d at 748 (alteration in original) (quoting Forrester v. Roth’s I.G.A. Foodliner,
        Inc., 646 F.2d 413, 414 (9th Cir. 1981)); see also 29 C.F.R. § 785.11 (“Work not
        requested but suffered or permitted is work time.”). However, if the “‘employee
        fails to notify the employer or deliberately prevents the employer from acquiring
        knowledge of the overtime work, the employer’s failure to pay for the overtime
        hours is not a violation of § 207.’” Newton, 47 F.3d at 748 (quoting Forrester,
        646 F.2d at 414); see also Harvill, 433 F.3d at 441.

Von Friewalde, 339 Fed. App’x at 455.

        According to the Declaration of William Terry Heinzmann, TMC’s Human Resources

Director, as Supervisor of Respiratory Therapy, Plaintiff was paid $32.00 per hour, was required to

work on-call, and received an on-call rate of $1.75 per hour for every hour he was on call. Dkt. 24-2

at 1-2. Heinzmann also states that if Plaintiff was called in, he automatically received at least two

hours of pay at his normal hourly rate of pay, regardless of whether he actually worked the full two

hours after being called in and that if Plaintiff was called in and he worked over two hours, he

received pay at his normal hourly rate. Id. Further, according to Heinzmann, for hours worked in




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excess of 40 in a workweek, Plaintiff received $48.00 per hour. It his deposition, Heinzmann further

testified that the time clock system at the hospital calculates these pay rates when an employee clocks

in and clocks out. Dkt. 24-3 at 8.

        In response, Plaintiff cites to testimony that he was discouraged from reporting his time by

the facial expressions, heavy sighing and “stuff” of Donna Carter, TMC’s timekeeper. Dkt. 24-5 at

6; 14. In his deposition, however, Plaintiff also conceded that Carter “never outright refused to”

correct his time record and “would take any requests that I would give her.” Dkt. 24-5 at 6. In his

deposition, Plaintiff also conceded that, although he “made every attempt to report that time to

them,” he “didn't go back in and look to make sure every time and itemize it that she had done what

[he] had requested that she do.” Dkt. 24-5 at 7. Plaintiff also conceded that he was able to review

and correct his own time. Dkt. 24-5 at 13; 15-16. But, Plaintiff testified that he never really

understood how to look at his electronic pay stubs to review the time for which he was compensated.

Dkt. 24-5 at 5. Given Plaintiff’s testimony regarding his reporting of his time and the mechanisms

in place for him to do so, the Court finds that there is no fact issue regarding Plaintiff’s claims that

TMC did not meet its recordkeeping obligations.

        At his deposition, Plaintiff testified that he is not alleging that he was not paid for time he

worked at the hospital and that his time records accurately reflected the time he worked at the

facility. Dkt. 24-5 at 10 - 11; 18. Plaintiff testified that “I always complained that I didn't feel like

that I was being paid enough for the duties and responsibilities they were making me do.” Dkt.

24-5 at 22 (emphasis added).




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       The Court finds that this does not create a fact issue as to any unpaid overtime pay. This is

simply evidence of an employee who is dissatisfied with the amount of his wages.

       The gravamen of Plaintiff’s complaint thus appears to be the requirement that he be “on call”

and for the work he claims he was asked to do off-the-clock from home. Although Plaintiff testified

that he sensed from his supervisor Madeline Clark’s body expressions that “she was wanting me to

be on call without pay,” he then testified that she told him there was a call pay. Dkt. 24-5 at 19.

       In his summary judgment response, Plaintiff cites to his deposition testimony to show the

overtime work he performed at home. According to Plaintiff, he would print out emails at the office

and then read them at home because he was too busy during the day to read them. Dkt. 27-7.

Plaintiff also testified that he worked on updating approximately 100 hospital policies for the

Respiratory Therapy Policy and Procedure Manual for a period of approximately 45 days every night

after work. Dkt. 27-7 at 42-46. Plaintiff testified that the task of updating the policies was given to

him by Madeline Clark, who said he could work on them from home and knew that he was working

from home because he sent emails to her and others about the work. Dkt. 27-7 at 48-49. Plaintiff

testified that he worked almost every night for a 45-day period up to 5 hours per night at home on

the policy updates. Dkt. 27-7 at 47-49. He explained that he did this work at home in part because

he needed “quiet time,” “did not have a good work area at the hospital” and was often interrupted

there. Dkt. 27-7 at 46.

       Although Plaintiff testified that he “knew [Madeline Clark] was instructing [him] to do [the

work on the policies] off the clock” and that it was his “understanding” that he wouldn’t be paid

extra for work done at home, he could not recall anyone telling him that he was not allowed to report




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this time. Dkt. 27-7 at 54-55.

        The Court finds that Plaintiff has failed to demonstrate a genuine issue of material fact

regarding whether TMC knew that he was not reporting or being compensated for his off-the-clock

or at-home work. Where there is no evidence to show that the employer should have known that

the hours reported on an employee’s time sheets were incorrect, the employee has not shown that the

employer had constructive knowledge of any overtime worked or violated the FLSA by paying him

only for the hours claimed on his time sheets. Newton v. City of Henderson, 47 F.3d 746, 749 (5th

Cir. 1995) (“If we were to hold that the City had constructive knowledge that Newton was working

overtime because Freeman had the ability to investigate whether or not Newton was truthfully filling

out the City’s payroll forms, we would essentially be stating that the City did not have the right to

require an employee to adhere to its procedures for claiming overtime.”).

        In this case, in support of his summary judgment response, Plaintiff has cited to his

understanding of Clark’s wishes and her alleged awareness of his work at home on the hospital

policies, as well as his perception of her body language that he should not claim certain on-call time

as evidence of Defendant’s knowledge. Even if the Court assumes that this testimony is true and

viewing it in a light most favorable to Plaintiff, it is simply not enough to evidence a violation of the

FLSA. There is no evidence that Defendant ever required Plaintiff to work hours for which

Defendant determined he would not be compensated. And, there is nothing in the record to show

that Defendant knew or should have known that Plaintiff was not reporting his overtime hours.

        Indeed, the only evidence in the record – other than Plaintiff’s deposition testimony regarding

his “understanding of,” or assumptions about, Defendant’s position regarding his overtime pay – is




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an email dated May 7, 2012 from Robert Burns stating that Plaintiff was no longer on administrative

call after hours. The copy of the email in the summary judgment record has a handwritten notation

on it that “Kevin” works 7:30-4, Monday through Friday. Dkt. 27-4 at 6. Even if this email shows

that TMC management at some point became aware of Plaintiff’s complaints regarding after-hours

or at-home work, it does not create a fact issue regarding whether Plaintiff was compensated for any

time about which he complained.2 If anything, it could be construed as evidence that – contrary to

Plaintiff’s allegations – Defendant responded to his complaints about at-home work and sought to

correct it.3

        Moreover, the Court notes that even if Plaintiff could show that Defendant knew that he was

not being compensated for time worked from home, there is insufficient summary judgment evidence

that would show the actual time for which he claims he was not compensated. Defendant attaches

a copy of Plaintiff’s Payroll records, reflecting time worked included “ON CALL” and “OVT” pay.

See Dkt. 24-11. Plaintiff has not offered any evidence to show how these time records to do not

accurately reflect the time worked by him in a given pay period.

        Indeed, none of Plaintiff’s summary judgment evidence shows when and for how long he

performed off-the-clock tasks for which he alleges he was not compensated. Plaintiff attaches to his


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         The Court notes that, for these reasons, even if they were binding authority, the cases
cited in Plaintiff’s Supplemental Summary Judgment Response (see Dkt. 38) do not alter the
Court’s analysis.
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         The Court notes that Plaintiff has cited to a portion of Heinzmann’s deposition testimony
regarding whether Burns should have made sure that Plaintiff was paid for any on-call or at-home
administrative time. See Dkt. 27-8 at 3-5. The Court finds that such testimony fails to create a
fact issue as to Plaintiff’s FLSA claims since there is no evidence of the time worked or the time
for which he was not compensated.



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summary judgment response phone records he alleges evidence phone calls and text messages with

TMC staff.4 The Court finds that these do not demonstrate any fact issue. Plaintiff has not offered

any evidence of the contents of the text messages or the subject of conversations, other than to testify

that “any time I ever got a call after hours, I had to use a lot of intellectual thought process and

determination, reviewing schedules, reviewing availability, and to try to figure out what – what –

depending on what the problem was, that on a regular basis I was having to sit there in deep thought

and try to figure out how to solve the problem.” Dkt. 27-7 at 64. Moreover, even assuming they

were work-related (as opposed to communications with co-workers of a personal nature), involved

more than de minimis time, and were integral and indispensable to one of Plaintiff’s principal work

activities such that they would be compensable under the FLSA, see Chambers v. Sears Roebuck and

Co., 428 Fed. App’x 400, 421(5th Cir. 2011), Plaintiff has not shown that Defendant knew of the

time or should have known of the time worked, nor has Plaintiff shown of the amount of time

worked.

       Plaintiff testified that after he complained about receiving calls at home he tracked his calls

for Robert Burns for a few months, writing down what was talked about and turning them in. Dkt.

31-1 at 7-8. Plaintiff attaches a portion of his handwritten notes regarding his undocumented time.

See Dkt. 27-2 at 1. Although some times are occasionally noted, the total time worked is not.

Plaintiff testified that he did not record how much time he was spending because he “couldn’t see

doing extra recordkeeping when [he] had no anticipation for being paid for the extra work I did after



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        Plaintiff does not submit copies of any of the emails he claims he wrote from home to his
supervisors regarding the updates to the policies.



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hours.” Dkt. 32-1 at 9. He has not cited to any evidence that would show that Defendant or any of

its representatives told him that he would not be paid for this work if he reported it. And, even

assuming this is competent and admissible evidence, Plaintiff has also not shown which of the at-

home activities noted such as “give new phone number,” “ask about punching in”, “report jury duty,”

“staffing issues,”“ask employees to stay late”, Dkt. 27-2 at 1, were “integral and indispensable to the

principal activities that [Plaintiff was] employed to perform—and thus compensable under the

FLSA....” Integrity Staffing Solutions, Inc. v. Busk, 135 S. Ct. 513, 519 (2014).

       Plaintiff has failed to raise a genuine issue of material fact that any of his claimed

off-the-clock communications are compensable under FLSA nor has he shown the hours worked

with any specificity such that they evidence goes beyond mere conclusions. See, e.g. Uhler v. Galesi

Management Corp., 1999 WL 20949,*6 (N.D. Tex. 1999) (granting summary judgment for employer

where evidence of “sporadic” time entries where plaintiff made “occasional recordation” of overtime

worked and recorded departure times without arrival times was not enough to create fact issue as to

FLSA overtime claim).

       Even counsel for Defendant attempted to elicit testimony regarding the specific hours worked

by Plaintiff during his approximate 45 days of at-home work on the department policies, and Plaintiff

could not state the hours worked, only broadly estimating that it was sometimes more and sometimes

less than 5 hours per day approprimately 90% of the approximate 45-day period. 27-7 at 47-49.

Such conclusory allegations do not suffice in summary judgment proceedings.




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       At another point in the deposition, counsel again attempted to quantify the overtime claimed:

       Q (BY MS. MIERS) You don’t know how many hours you actually worked off the
       clock on any given day during your employment, right?

       A       No, ma’am.


Dkt. 24-5 at 33. “[A]n unsubstantiated and speculative estimate of uncompensated overtime does

not constitute evidence sufficient to show the amount and extent of that work as a matter of just and

reasonable inference.” Ihegword v. Harris Cnty. Hosp. Dist., 555 F. App’x 372, 375 (5th Cir. 2014)

(affirming grant of summary judgment in favor of employer on a plaintiff’s FLSA claim) (internal

citations omitted).

       Plaintiff has not shown – as he is required to do – sufficient evidence of either the existence

of damages or any “just and reasonable inference” of the amount of damages. Ihegword v. Harris

County Hosp. Dist., 555 Fed. App’x 372, 374 (5th Cir. Tex. 2014). There is no evidence that

Plaintiff was instructed to not record his time or prevented from reporting his time or was directed

by Defendant to work off-the-clock without reporting that time. Without any evidence of the amount

or the extent of hours Plaintiff worked without compensation or any evidence that Defendant was

aware that she worked overtime hours without compensation, Plaintiff has failed to raise a genuine

issue of material fact as to whether she went uncompensated for overtime work and he shall take

nothing by his FLSA claim. Harvill v. Westward Communications, L.L.C., 433 F.3d 428, 441 (5th

Cir. 2005) (affirming grant of summary judgment for employer on FLSA claim where employee had

no evidence of overtime worked).




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           Defendants’ Motion for Summary Judgment (Dkt. 24) is GRANTED, and Plaintiff shall take

    nothing by his claims herein.

           SO ORDERED.
           SIGNED this 21st day of September, 2015.

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                                               ____________________________________
                                               DON D. BUSH
                                               UNITED STATES MAGISTRATE JUDGE




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